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                          UNITED STATES DISTRICT COURT
                          SO UTHERN DISTRICT OF FLORIDA

                             CASE N O.12-20947-CR-LENARD


UNITED STATES OF AM ERICA



ADRIAN M ARINO,
 a/k/atdAlex Gonzalezc
 HENRY TARIH O,JR.,and
 ROBERTO M ARINO,

              D efendants.
                                  /

                                   PLEA AGREEM ENT

         TheUnitedStatesofAmericaandHENRY TARRIO,JR.(hereinafterreferredtoasthe

 çidefendant'')enterintothefollowingagreement:
               The defendantagreesto plead guilty to Counts1,2,3,and 5 ofthe Indictment.

 Count     charges the defendant with m isbranding Federal Food, Drug, and Cosm etic Act

 (IIFDCA'')deviceswhileheld forsaleaftershipmentininterstatecommerce,inviolationofTitle
 21,United StatesCode,Sections331(k),333(a)(2)and 352(a). Count2chargesthedefendant
 with conspiring to receive,possess,and sellstolen goods,in violation ofTitle 18,United States

 Code,Section 371. Count3 chargesthedefendantwith possessing,concealing,storing,selling,

 and disposing ofstolen goods,inviolation ofTitle 18,United StattsCode,Section 2315.Count

 5chargesthedefendantwith transporting,transmitting,andtransfening stolen goodsin interstate

 commerce,in violation ofTitle l8,United StatesCode,Section 2314.
         2.    ln return,the United States agrees to seek dism issal of C ounts 4 and 6 of the

 lndictm ent,aftersentencing.



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              The Sentencing Guidelines. The defendant is aw are and understands that his
sentence willbe imposed by the Courtafterconsidering the FederalSentencing Guidelinesand

Policy Statements(hereinafterthed'Sentencing Guidelinesh). The defendantacknow ledgesand
understandsthatthe Courtwillcompute an advisory sentence underthe Sentencing Guidelines

and thatthe applicableguidelineswillbedetermined bytheCourtrelying in parton theresultsof

 aPre-sentencelnvestigationby theCourt'sprobation office,which willcomm ence investigation

 aftertheguilty pleahasbeen entered.

              Departure#om the Sentencing Guidelines. The defendantis also aware and
 understands that, under certain circumstances, the Court may depart from the advisory
 sentencing guideline range thatithas computed,and may raise orlowerthatadvisory sentence

 undertheSentencing Guidelines. Thedefendantisfurtherawareand understandsthatthe Court

 isrequired to considertheadvisory guideline rangedeterm ined underthe Sentencing Guidelines,

 butisnotbound to impose thatsentence;theCourtisperm itted to tailorthe ultimate sentencein

 lightofotherstatutory concerns,and such sentencemay beeithermoresevereorlessseverethan

 the Sentencing Guidelines'advisory sentence. Knowing these facts,the defendantunderstands

 and acknowledgesthatthe Courthas the authority to impose any sentencewithin and up to the

 statutory maximum authorized by law for the offenses identified in paragraph 1 and thatthe

 defendantmay notwithdraw theguiltypleasolely asaresultofthe sentenceimposed.

        5.     Penalties. Thedefendantalso understandsand acknowledgesthat,astoCounts l,

 3,and 5,the Courtmay imposeup to astatutory maximum term ofimprisonmentoften (10)
 yearspercount,followed by aterm ofsupervised release up to three years. Asto Count2,the

 Courtm ay im pose up to a statutory m axim um term of imprisonm entoftive years,follow ed by a




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term of supervised release up to three years. ln addition to a term of imprisonment and

supervised release,foreach count,theCourtmay imposeafineofup to $250,000.
       6.      SpecialAssessmentFee. TheYfendantfurtherunderstandsand acknowledges
that, in addition to any sentence imposed under paragraph 5 of this agreement, a special

assessmentin the amountof$400 ($100 percount)willbe imposed on the defendant. The
defendantagreesthatany specialassessmentimposed shallbepaid atthetimeofsentencing.
               The Offce ofthe United States Attorney for the Southern Districtof Florida

(hereinafter$$Off1ce'')reservestherighttoinform theCourtand theprobation officeofa11facts
pertinentto the sentencing process,including allrelevant inform ation concerning the offenses

comm itted,whether charged or not,as wellas concerning the defendant and the defendant's

background.Subjectonlytotheexpresstermsofanyagreed-upon sentencingrecommendations
contained in thisagreement,this Oftlce furtherreservesthefightto make any recomm endation

asto thequality andquantity ofpunishment.
        8,     Early Acceptance of Responsibility. The United States agrees that it will
 recommend at sentencing thatthe Courtreduce by two levels the sentencing guideline level

 applicabletothedefendant'soffense,pursuanttoSection3E1.1(a)oftheSentencingGuidelines,
 based upon the defendant's recognition and affinnative and timely acceptance of personal

 responsibility. lfatthetimeofsentencingthedefendant'soffenselevelisdetermined tobe 16 or

 greater,thegovernmentwillm ake am otion requesting an additionalone-leveldecreasepursuant

 to Section 3E1.1(b) of the Sentencing Guidelines,stating that the defendant has assisted
 authorities in the investigation or prosecution of his ow n m isconduct by tim ely notifying

 authorities of his intention to entera plea ofguilty,thereby perm itting the governm entto avoid




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 preparing for trialand permitting the government and the Courtto allocate their resources

 efficiently.
                Sentencing Recommendation. The United States further agrees to recommend

 thatthedefendantbe sentenced atthe low end ofthesentencing guideline range,asthatrange is
 determ ined by the Court. The U nited States,however,w illnotbe required to m ake this m otion

 and thisrecommendation ifthe defendant:(1)fails orrefusesto make a full,accuratt and
 complete disclosure to the probation office ofthe oircum stances surrounding the relevantoffense

 conduct;(2)isfound tohavemisrepresented factsto the governmentpriortoentering intothis
 pleaagreement;or(3)commitsanymisconductafterenteringintothispleaagreement,including
 butnotlimited to committing a stateorfederaloffense,violating any term ofrelease,orm aking

 false statements orm isrepresentationsto any governmentalentity orofficial. Nothing in this

 paragraph prevents the defendant from seeking a variance or departure below the applicable

 sentencing guideline range.
         l0. AmountofLoss. Thedefendantunderstandsthatthe Iossamounthasyetto be
  finalized and can be up to $4,000,000 (thatis,the value ofthe stolen goodsatissue). The
  defendant's position, however,is that the loss am ount should correlate to the stolen goods

  attributableto hisrole in the conspiracy,and thatheshouldnotbeaccountable forthetotalvalue

  of the stolen goods. The United States disagrees with the defendant, and the defendant

  understandsand acceptsthatthe United Stateswillnotbe in agreementwith him regarding this

  issue athis sentencing.
                Sentencing Predictions Are Not Binding. The defendant is aware that the

  sentence has not yet been determ ined by the Court. The defendant also is aware that any

  estim ate of the probable sentencing range or sentence thatthe defendant m ay receive,w hether



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thatestimatecomesfrom the defendant'sattorney,the government,orthe probation office,isa

predidion,nota promise,and isnotbinding on the government,the probation offk e orthe

Court.
         12.   The defendant furtherunderstands and acknowledges that any recomm endation

 thatthe govem mentm akesto the Courtasto sentencing,whetherpursuantto thlsagreementor

 otherwise,isnotbinding on the Courtand the Courtm ay disregard the rtcommendation in its

 entirety. The defendant understands and acknowledges,as previously acknowledged in this

 agreement,thatthe defendantm ay notwithdraw hispleabased upon the Court'sdecision notto

 accept a sentencing recomm endation made by the defendant, the government, or

 recommendationmadejointlybyboththedefendantandthegovernment.
         13.   SubstantialAssistance. The defendantagreesto provide substantialassistanceto
 the government with the prospect that the United States may file a Section 5K 1.1 of the

 Sentencing GuidelinesorFed.R.Crim.Proc.35 motion. Thedefendantagreesand understands

 thatheshallcooperatefully withthisOftkeby:(a)providingtruthfulandcompleteinformation
 and testimony,andproducing documents,records and otherevidence,when called upon by this

 Office,whetherin interviews,beforeagrandjury,oratanytrialorotherCourtproceeding;(b)
 appearingatsuchgrandjury proceedings,hearings,trials,andotherjudicialproceedings,andat
 meetings, as may be required by this Oftke;(c) testifying at trial as a witness for the
 government;and (d) ifrequested by this Offke,working in an undercover role underthe
 supervision of,and in compliance with,1aw enforcement officers and agents. In addition,the

 defendant agrees that he w illnot protect any person or entity through false information or

 om ission,that he w ill not falsely im plicate any person or entity,and that he that he w ill not

 com m itany furthercrim es.



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       I4.    ThedefendantunderstandsthatthisOfficereservestherightto evaluatethenature

andextentofthedefendant'scooperation andtomakethatcooperation,orlack thereo: known
to theCourtatthetimeofsentencing. lfinthe soleand unreviewablejudgmentofthisOftke
the defendant'scooperation isofsuchquality and signiflcanceto theinvestlgation orproàecution

of other criminalmatters as to warrant the Court's downward departure from the advisory

sentencing range calculated under the Sentencing Guidelines and/or any applicable minim um

m andatory sentence,this Office may make a motion prior to sentencing pursuantto Section

5K1.1ofthe Sentencing Guidelines and/or Title 18,United StatesCode,Section 3553/),or
subsequent to sentencing pursuant to Rule 35 of the Federal Rules of Criminal Procedure,

informing the Coul'
                  tthatthe defendanthasprovided substantialassistance and recommending
thatthe defendant's sentence bereduced. The defendantunderstandsand agrees,however,that

nothing in this agreementrequires thisOfûce to file any such motions,and thatthis Offlce's

assessmentofthe quality and signitk ance ofthe defendant's cooperation shallbe binding asit

relatesto theappropriatenessofthisOffice'sfilingornon-filing ofamotiontoreducesentence.

               The defendant understands and acknowledges that the Court is under no

 obligation to granta motion forreduction ofsentence filed by the government. ln addition,the

 defendantfurther understands and acltnowledges thatthe Courtis under no obligation ofany

 typeto reducethedefendant'ssentencebecauseofthedefendant'scooperation.

               Folfeiture. Thedefendantagreesto forfeittothe United States,voluntarily and
 immediately,allofhis right,title and interestto a1lassets,and/or their substitutes,which are

 subjectto forfeiturepursuantto Title 18,United States Code,Sections 981(a)(1)(C)and the
 procedures set forth in Title 21,United States Code,Section 853. The property subjectto
 forfeitureincludesAbbottLabsFreestyle diabeticteststrips.



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        17.    Appellate Waiver. The defendant is aware that Title l8,United States Code,

 Section 3742 affords the defendant the right to appeal the sentence imposed in this case.

 Acknowledging this,in exchange for the undertakings made by the United Statesin thisplea
 agreem ent the defendanthereby waives aIl rights conferred by Section 3742 to appealany

 sentenceimposed,incltlding any restitution order,orto appealthemannerin which the sentence

 wasimposed,unlessthe sentenceexceedsthemaximum perm itted by statuteoristheresultofan

 upward departure and/or a variance from the guideline range that the Court establishes at

  sentencing. The defendantfurther understands thatnothing in this agreementshallaffectthe

  government's rightand/orduty to appealas setforth in Title l8,United StatesCode,Section

  3742(t9. However,ifthe United Statesappealsthe defendant'ssentence pursuantto Section
  3742(19,thedefendantshallbereleasedfrom theabovewaiverofappellaterights.
         18.   By signing thisagreement,the defendantacknowledgesthathe has'
                                                                           discussed the

  appealwaiver set forth in this agreement with his attorney. The defendant further agrees,

  togetherwith the United States,to requestthatthe districtcourtentera specific finding thatthe

  defendant'swaiverofhisrightto appealthe sentenceto be imposed in thiscase wasknowingly

  and voluntarily made.
         19.    The defendant also knowingly and voluntarily agrees to w aive any claim or

  defense that he may have under the Eighth Amendment to the United States Constitution,

  including any claim of excessive fine or penalty with respect to the forfeited assets. The

  defendantagreestowaivehisrighttoappealtheforfeiture.




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      20.    Entire Agreement. This is the entire agreelentand understanding between the

United States and the defendant. There are no otheragreements,promises,representations,or

understandings.


                                         W IFREDO FERRER
                                         UNITED STA      TTORNEY


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